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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0826V
                                        UNPUBLISHED


 CATHY BOYD,                                                Chief Special Master Corcoran

                        Petitioner,                         Filed: October 22, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On July 8, 2020, Cathy Boyd filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a Table shoulder injury related to vaccine
administration (SIRVA) as the result of an influenza (“flu”) vaccination she received in her
left shoulder on November 19, 2018. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On October 22, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case because she meets the criteria for
a presumed SIRVA as defined by the Vaccine Injury Table. Respondent’s Rule 4(c)
Report at 1, 3. Specifically, Respondent agrees that Petitioner had no recent history of

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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pain, inflammation, or dysfunction of her left shoulder; Petitioner’s pain occurred within
48 hours after receipt of an intramuscular vaccination; Petitioner’s pain and reduced
range of motion were limited to the shoulder in which the vaccine was administered; and
no other condition or abnormality has been identified to explain Petitioner’s shoulder pain.
Id. at 3. Respondent further agrees that Petitioner suffered the residual effects of her
condition for more than six months. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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